           Case 1:10-cr-00353-LJO Document 85 Filed 01/06/12 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   Suite 4401, Federal Courthouse
     2500 Tulare Street
 4   Fresno, CA   93721
     Telephone: (559) 497-4000
 5
 6
 7
                        UNITED STATES DISTRICT COURT
 8
                       EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     ) 1:10-CR-00353 LJO
11                                 )
                    Plaintiff,     ) STIPULATION AND ORDER THEREON
12                                 ) FOR CONTINUANCE
                 v.                )
13                                 )
     LORENZO SEGUNDO GALLEGOS,     )
14                                 )
                    Defendant.     )
15   ______________________________)
16        Defendant LORENZO SEGUNDO GALLEGOS, by and through their his
17   attorney, PETER M. JONES, and the United States of America, by
18   and through its attorneys, BENJAMIN B. WAGNER, United States
19   Attorney, and KAREN A. ESCOBAR, Assistant United States Attorney,
20   hereby stipulate that his sentencing hearing set for January 9,
21   2012, be continued to May 21, 2012, at 1:00 p.m. in order to
22   effectuate the terms of his plea agreement.
23   Dated: January 6, 2012                 Respectfully submitted,
24                                          BENJAMIN B. WAGNER
                                            United States Attorney
25
26                                    By:   /s/ Karen A. Escobar
                                            KAREN A. ESCOBAR
27                                          Assistant U.S. Attorney
28
               Case 1:10-cr-00353-LJO Document 85 Filed 01/06/12 Page 2 of 2


 1   Dated: January 6, 2012                       /s/ Peter M. Jones
                                                  PETER M. JONES
 2                                                Attorney for Defendant
                                                  LORENZO SEGUNDO GALLEGOS
 3
 4                                        O R D E R
 5
 6            The sentencing hearing currently set in this matter for
 7   January 9, 2012, at 1:00 p.m., shall be continued to May 21,
 8   2012, at 1:00 p.m.           Good Cause exists.
 9
10                                     IT IS SO ORDERED.
11   Dated:     January 6, 2012                 /s/ Lawrence J. O'Neill
     b9ed48                                 UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
